Case 1:18-mj-00661 Document 10 Filed on 05/03/19 in TXSD Page 1 of 2

AO 93 (Rev. 11/13) Search and Seizure Warrant (Page 2)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:
B-18-661-MJ 05/02/2019 8:00 am Timothy Bowen Intelligence Analyst

 

 

 

Inventory made in the presence of :
SA Brennan Brophy

 

Inventory of the property taken and name of any person(s) seized:

Agents will provide an ammended return upon Intelligence Analyst Timothy Bowen completing his detailed analysis of the
device.

 

Certification_

 

 

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant to the

designated judge.
United States District Court

. Southern District of Texas
ue Zo.
Date: _05/03/2019__

 

MAY 0 3 2013 Executing officer’s 54

 

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David J. Bradley, Clerk of Co Printed nfme and title

 

 

 
’ Case 1:18-mj-00661 I /19 in TXSD Page 2 of 2
AO $3 (Rev. 11/13) Search and Seizure Warrant ea e
Pupiie-and-wncthivtal-stafl-nccess:

to this instrument are

 

 

for the

In the Matter of the Search of )

(Briefly describe the property to be searched )
or identify the person by name and address) ) Case No. B-18-661-MJ

)

)

One (1) DW Digital Watchdog Recorder SN:
VMC041112480638 located at DEA Brownsville, TX

 

)
SEARCH AND SEIZURE WARRANT
To: Any authorized law enforcement officer
An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Southern District of Texas
(identify the person or describe the property to be searched and give its location):
Attachment A.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

Attachment B

YOU ARE COMMANDED to execute this warrant on or before Wy a [ 3 , Cy) ( q (not to exceed 14 days)
[7 in the daytime 6:00 a.m. to 10:00 p.m. A at any time in the day or nightGecause good cause has been established.
Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the

person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory

as required by law and promptly return this warrant and inventory to _ U.S. Magistrate Judge, Honorable Ignacio Torteya, Ill
(United States Magistrate Judge)

 

C1 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose

 

 

 

property, will be searched or seized (check the appropriate box) o
O for days (not to exceed 30) (7 until, the facts justifying, the later specific dat
Date and time issued: Ay Dr: f SD 0, Co! 7
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(4:02 PM) '
City and state: Brownsville, Texas U.S. Magistrate Judge, Honorable Ignacio Torteya, III

 

 

Printed name and title
